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Federal Circuit points out, however, “[t]his is no easy balancing act, . . . since the factors that make
an attorney so valuable to a party’s prosecution interests are often the very factors that subject him
to the risk of inadvertent use or disclosure of proprietary competitive information acquired during
litigation.” Id.

In addition, courts in this district give Weight to the expectation that the parties’ attorneys will
abide by the highest duties and ethical standards that are required of them in general and according
to the protective order. See JAB Distributors, LLC v. Londorz Luxury, LLC, No. 09-5831, 2010 WL
4008193, at *4 (N.D. lll. Oct. 13, 2010) (citing Truswa! Sys. Corp. v. Hydro-Air Eng’g, Inc., 813
F.2d 120'7, 1211 (Fed. Cir. 1987)). In JAB, the court held that the movant’S claims that a more
restrictive protective order was necessary because its competitor “will spare no effort or expense to
usurp the [movant’s] business” indicated nothing more than normal competition between the two
companies. JAB, 2010 WL 4008193, at *2. The court considered the central issue to be whether the
protective order “adequately” protected the highly confidential information ]d. at *3. The court
held that the protective order in place was adequate to ensure the secure production of competitively
sensitive information, because the plaintiffs attorneys could view confidential documents and “use
them to inform their larger recommendation to their client as to the desirability of a proposed course,
without communicating private information contained in those documents (to the clients).” Id. at
*4.

Similarly, in Motoro!a, Inc. v. Lemko Corp., No. 08 C 5427, 2010 WL 2179170, at *3 (N.D.
Ill. June l, 2010), a party sought to loosen the protective order’s provision that certain “attorneys’
eyes only” information would be accessible only to outside counsel of record and to independent

expert witnesses and consultants, so that a portion of the protected information Would also be

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available to some of Motorola’s in-house attorneys and business or security personnel. Motorola,
2010 WL 2179170, at *3. As in JAB, the Motorola court acknowledged the competition, or potential
competition, between the parties, and the parties’ concern that disclosure of development, design,
and implementation ofcutting-edge communications technology “Would put the company at risk that
a competitor or potential competitor would learn of and use the technology.” Id. at *4. The court
held, however, that the defendants failed to show that disclosure of the materials to a small number
of Motorola personnel - the responsibilities of most of whom were legal and security-related -
would put the defendants “at any appreciable risk” of “disclosure (including inadvertently or
accidentally) of sensitive competitive infonnation,” especially in light of the fact that the persons
would be subject to the court’s protective order and its non-disclosure/non-use restrictionsl Id.

In this case, the factors in the balancing test weigh against imposing the restriction on Mr.
Borsand (and on TT) that defendants seek. l\/lr. Borsand is TT’s lead trial counsel and is intimately
involved in TT’s overall litigation strategy. As such, TT would face serious difficulty if forced to
rely on outside counsel rather than Mr. Borsand to the extent that defendants propose. Defendants’
suggestion that Mr. Borsand “would not be precluded from representing [TT] in the litigation (Defs. ’
l\/lem. at 14), is disingenuous at best. Defendants do not explain how Mr. Borsand could
competently discharge his responsibilities as TT’s lead counsel while at the same time being kept
wholly in the dark as to significant categories of evidence

Defendants’ alternative suggestion that TT would not be prejudiced if l\/lr. Borsand could not
continue to act as lead counsel (]d.) is likewise a non-starter Mr. Borsand has been TT’s lead
counsel in litigation involving the patents-in-suit since 2003, and he is now its lead counsel in

thirteen suits in this court involving these patents. He has also tried one case involving the patents-

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in-suit to a successful jury verdict in 2007. The idea that TT would be unscathed if it lost Mr.
Borsand’s involvement as lead counsel blinks reality, and ignores the weight to be given to a party’s
choice of what counsel will represent it in major litigation See Deutsche Bank, 605 F.3d at 1380
(court must balance competing interests between potential harm from risk of inadvertent disclosure
of confidential information against potential harm from restrictions imposed on patentees’ right to
have counsel of choice).

On the flip side, we find that the risk of inadvertent disclosure of Highly Confidential
information Mr. Borsand receives in the litigation is not great. Mr. Borsand does not himself now
engage in patent prosecution or inventive activity and does not make decisions related to product
pricing, sales, marketing, design, or development ln his declaration, Mr. Borsand stated that he has
abided by the terms of the 2006 Order, and indeed, there is no evidence that he has improperly
disclosed the Highly Conl'idential - Attorneys’ Eyes Only material to which he has had access. We
agree with the analysis of the courts in JAB and Mororola, and expect that l\/lr. Borsand will abide
by the protective order as he has in the past.2 Moreover, while to date Mr. Borsand has elected not
to view any materials with the designation Highly Confidential ~ Patent Prosecution, he Warrants that
if he did view such materials, he would fully abide by the terms of the protective order (Borsand

Decl. at jj 10). Speciiically, l\/lr. Borsand warrants that he would not have “Primary Responsibility

 

2We are mindful ofdefendants’ argument that conduct by Mr. Borsand that defendants cite in a separate motion
to disqualify Mr. Borsand as trial counsel (doc. # 293) also supports barring Mr. Borsand from access to Highly
Coniidential information In that motion, defendants contend that one of the defendants retained EIP, a European patent
firm1 in December 2005 as a consultant to help defendants’ outside trial counsel defend against TT’s 2005 infringement
suit. ln July 2010, TT hired EIP to represent TT in prosecuting some ofTT’s European patent applicationsl Defendants
contend that EIP was privy to its “defense strategy related to TT’s patents” and other related work product (doc. # 295:
Mem. in Supp. ofMot. to Disqualify at 4). In his declaration, Mr. Borsand attests that he did not violate the 2006 Order
through his contacts with EIP, and TT has maintained its relationship with EIP (Borsand Decl. at 1|11 14-22). The district
judge presiding in this case will decide the factual issues in the motion to disqualify, and we will not limit Mr. Borsand’s
access to materials based on contested allegations that will be adjudicated by another judge We will revisit the issue
of restrictions on Mr. Borsand if the ruling by the district judge provides good cause to do so.

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for the Preparation and Prosecution of Patent Applications” as defined in the Protective Order (Ia'.
at il 10). That is a credible representation, since the evidence submitted with TT’s response to
defendants’ motion shows that Mr. Borsand does not currently exercise primary responsibility for
that activity.

Defendants argue that whether or not Mr. Borsand has ‘“Primary Responsibility for the
Preparation and Prosecution of Patent Applications,” there is a risk of inadvertent disclosure that
should bar Mr. Borsand from having access to l-Iighly Confidential information This
misunderstands the nature of a patent prosecution bar in a protective order. The patent prosecution
bar reflects a court’s determination of “the degree of protection required” to balance the risk of
inadvertent disclosure against the harm to the opposing party from limitations imposed on that
party’s right to have the counsel of its choice. Deutsche Bank, 605 F.3d at 1380. Defendants have
not pointed out any case, nor have we found one, where an absolute bar against an attorney’s access
to a wide range of confidential information in a protective order was held to “reasonably reflect the
risk presented by the disclosure of proprietary competitive information.” Id. at 1381. Rather, a
patent prosecution bar in a protective order reflects a balance wherein an attorney agrees to give up
a specific scope of activities for the specific duration of the bar in exchange for access to certain
confidential information Id. As Judge Moran aptly put it: “It’s a choice. . . . [A] party . . . has a
choice to say, okay, lam going to use this attorney as part of my litigation team. Or I am going to
use this attorney as part of my patent application team. But you can’t do both.” (TT’s Opp’n Br., Ex.
B: 3/7/06 Tr. at 6).

Finally, we are not persuaded that the activity that defendants say should bar l\/lr. Borsand

from access to confidential material is activity that was not substantially before Judge l\/loran when

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he entered the protective order in 2006. We recognize that Judge Moran entered the order over
defendants’ strenuous obj ection. But, neither continuing dissatisfaction with the protective order nor
the reassignment ofthe case to a new judge is good cause to change a protective order provision that
has adequately governed the case for four years.

Based on this analysis, we find that it is too great a burden to preclude TT’s lead litigator and
trial counsel from access to defendants’ I-lighly Confidential material Accordingly, defendants have
not presented “good cause” - in fact, they have not presented any changed evidence or circumstances
since the 2006 Order issued - that the protective order should be modified as they have requested

III.

The next two modifications sought by defendants seek to broaden the patent prosecution bar
in the 2006 Protective Order, which prevents people who gain access in the litigation to documents
marked “Highly Confidential - Patent Prosecution” from primary responsibility for prosecuting any
patent related to the subject matter of the patents in suit. The 2006 Order stated that in order for the
designated in-house attorney to view “Highly Confidential - Patent Prosecution” information, he or
she “must, prior to disclosureJ elect in writing to forego Primary Responsibility for Preparation and
Prosecution of Patent Applications Related to the Subject Matter of the Patents-in-Suit until 1 year
after conclusion of the proceedings” (2006 Order at 11 8). Defendants seek to expand both the
definition of “Primary Responsibility for Preparation and Prosecution of Patent Applications” as well
as the definition of “Related to the Subject Matter of the Patents~in-Suit.” TT contends that
defendants’ proposed expansion of both the type and scope of activities to be prohibited by the bar

exceeds any risk of disclosure of confidential information

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A.

The 2006 Order defines “Primary Responsibility for Preparation and Prosecution of Patent
Applications” as drafting patent specifications, drawings, claims, or amended patent claims (2006
Order at 11 8). The 2006 Order specified that “Primary Responsibility” does not include general
advice over patent strategy, patent office interviews, or opposition proceedings in a foreign country
(ld.). Defendants contend that this definition does not adequately limit the inadvertent risk of
disclosure They seek to expand the definition to include these formerly excluded categories: “the
preparation and filing of responses to objections of the patent examiner, interviews at the patent
office or by telephone, participating in opposition, reexamination, reissue, appeal or similar
proceedings in the U.S. or in a foreign country and generally advising other attorneys of overall
patent strategy, and supervising, directing or instructing others engaged in any of the foregoing
activities” (Proposed Order at il 8).

The Federal Circuit, however, has held that there is little risk of inadvertent disclosure
involved in the activities to which defendants seek to expand the bart “reporting office actions or
filing ancillary paperwork, such as sequence listings, formal drawings, or information disclosure
statements;” and “high-altitude oversight of patent prosecution, such as staffing projects or
coordinating client meetings.” Deutsche Barzk, 605 F.3d at 1379~80. Without any evidence to justify
expanding the patent prosecution bar to situations which the Federal Circuit has stated present a low
risk of inadvertent disclosure, or evidence as to why the present definition has proven insufficient,
we deny defendants’ motion to expand the definition of “Primary Responsibility for Preparation and

Prosecution of Patent Applications.”

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B.

We likewise deny defendants’ proposed expansion of the definition of “Related to Subject
Matter of Patents-ln~Suit.” The 2006 Order defines “Related to Subject Matter of Patents-ln-Suit”
as “patent applications seeking to claim a graphical user interface for manual order entry” (2006
Order at il 8). Defendants contend that this definition does not adequately limit the inadvertent risk
of disclosure because the technology embodied in their products “clearly has relevance and
application beyond merely a ‘ graphical user interface for manual order entry”’ (Defs.’ Mem. at 8).
Defendants propose that “Related to the Subj ect l\/latter of the Patents-In-Suit” should mean “patent
applications seeking to claim subject matter related to the electronic trading of commodities”
(Proposed Order at 11 8). ln support, they argue that TT has propounded discovery requests seeking
confidential technical information going far beyond the confines of a “graphical user interface for
manual order entry” (doc. # 307: Defs.’ Reply at 10-1 l). In addition, defendants note that the ‘132
and ‘304 Patents state that the invention “is directed to the electronic trading of commodities” (Id_
at ll).

By contrast, TT argues that the same considerations apply now as applied when ludge Moran
considered and rejected defendants’ arguments to broaden the subject matter of the bar in 2005 (TT’s

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Opp’n Br. at 15). TT contends that “graphical user interfaces for manual order entry accurately
describes the subject matter of the patents~in~suit” (Ia'. ). TT argues that defining the subject matter

broadly as “directed to electronic trading of commodities" would “mean that any attorney who

accessed information in the third tier3 would be barred from electronic trading fields wholly

 

3'l`he “third tier” as used by 'I`T appears to refer to information designated “Highly Confidential - Patent
Prosecution” under the protective order.

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unrelated to the pending litigation, such as algorithmic trading, back end architecture, matching
engines, etc. f essentially TT’s entire patent application portfolio” (]d. at 15-16). As such, TT argues
that defendants’ proposed definition does not “reasonably reflect the risk presented by the disclosure
of proprietary competitive information” (Id. at 16 (quoting Deutsche chk, 605 F.Bd at 1381)).
We find that TT has the better of this debate. While defendants point to some language
describing the ‘304 and ‘132 Patents in broad terms, a closer examination of those patents reveals
that almost every section of the patents-in-suit specify that the patents read on a specific tool for
executing trades more quickly and efficiently, not on the electronic trading field as a whole (see doc.
#l: Compl., Ex. A: ‘304 Patent; Compl., Ex. B: ‘132 Patent). l\/loreover, defendants’ argument that
the breadth of TT’s discovery requests warrants a broadened definition of the subject matter of the
patents-in-suit is a recycled argument that Judge Moran previously considered and rejected
During the proceedings in 2006, as here, defendants argued for a broad definition of the scope
of the patent bar, in part, based on discovery requests by TT that seek confidential technical
information that was broader than a “graphical user interface for manual order entry” (Defs.’ Reply
at 10-1 1). At a March 10, 2006, hearing before Judge l\/loran, l\/lr. Borsand argued for a narrow
definition of the subject matter - patents seeking to claim a graphical user interface for electronic
order entry - while defendants’ counsel argued that the discovery propounded was “exceedingly
broad” and went beyond graphical interface to all electronic trading tools and even banking as a
whole (doc. # 299: 3/10/06 Tr. at 34-37). Judge Moran reiterated that the protective order “applies
only to the technology involved in this lawsuit,” and “that we go back to the general obligation . . .
[that] highly confidential information . . . cannot be used except for the purposes of this lawsuit” (Id,

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On July 6, 2006, Judge Moran ordered the parties to file a “blueprint of the current disputes
regarding the protective order with the Court” (doc. # 117: 7/6/06 Order). Defendants’ “blueprint,”
filed in the eSpeed case, indicated that they sought a protective order which defined “Related to the
Subject Matter of` the Patents-in-Suit” as “related to the electronic trading of commodities” (eSpeed
doc. # 365: Defs.’ Blueprint, Ex. B at 7). By contrast, TT sought to define the phrase as meaning
“patent applications seeking to claim a graphical user interface for manual order entry” (]d. at 6).
These are the same definitions the parties seek now, almost five years later. In addition, defendants’
arguments in support of a broader definition of “related to the subject matter of the patents-in-suit”
were largely the same before Judge l\/loran as they are today. in their blueprint, defendants
summarized their argument in favor of an expansive definition as follows:

TT’s ever expanding patent application filings cover subject matter that extends to

data processing systems for use in electronic trading, managing data displays, graphic

user interfaces, as well as systems and methods for executing electronic trades.

Additionally, it is possible that their currently unpublished pending applications

cover even more areas of electronic trading All of TTl’s applications and patents

clearly include more than graphic user interfaces and additionally all of the pending

applications could be influenced by Highly Confidential-Patent Prosecution material

that is disclosed during litigationJ which by no means is limited to graphic user

interfaces. Thus, it is illogical to restrict the subject matter of the patents-in-suit to

graphic user interfaces; instead, the related subject matter is electronic trading of
commodities
(eSpeed doc. # 365 : Defs.’ Blueprint, Ex. C at 6).

Judge Moran rejected defendants’ argumentsl ln his memorandum opinion accompanying
the 2006 Order, Judge Moran stated that he had considered defendants’ c‘blueprint,” and determined
that “the obligations should be confined to patent applications seeking to claim a graphical user

interface for manual order entry” (doc. # 1201 7/13/06 I\/lem. Op. and Order at 3-4). Judge Moran

reasoned that “[t]he likelihood of inadvertent use of restricted information by a litigator, when the

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information relates to patents that are largely irrelevant to the litigation, is small, indeed” (Id. at 4).
Judge l\/loran held that the protective order would apply to all of the related TT cases (Ia'. at 5).

Defendants have not demonstrated good cause to diverge from Judge l\/loran’s reasoning,
which we find persuasivel We reiterate: dissatisfaction with a prior ruling or assignment of the case
to a new judge do not constitute good cause to rewrite a protective order. Accordingly, we reject
defendants’ request to modify the 2006 Order to expand the definition of “Related to Subj ect l\/latter
of Patents-in-Suit.”

IV.

Lastly, defendants seek to expand the protections afforded to “source code” material in the
protective order. Defendants propose a fourth category of confidentiality, entitled “I-Iighly
Confidential-Attorneys’ Eyes Only-Source Code” for Highly Confidential-Attorneys’ Eyes Only
material that consists of source code (Proposed Order at il 4). ln addition to the heightened
confidentiality to which the Attorneys’ Eyes Only material would be subject, source code material
would be subject to additional, extensive procedures involving the establishment of a secure facility
in which source code can be deposited by the producing party and reviewed by the requesting party
under elaborate restrictions (Proposed Order at il 9; Defs.’ Mem. at 15).

Defendants contend that when the 2006 Order was entered, TT had requested production of
source code from older products that defendants were relying on as prior art but not actively
marketing, while now, by contrast, TT is requesting source code from defendants’ currently accused
infringing products (Defs.’ Mem. at 9). In addition, defendants contend that since the 2006 Order
was entered, the marketplace has become more competitive, and TT’s activity in it has increased

(Defs.’ Reply at 12).

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TT counters that defendants knew of their intention to seek discovery of current source code
and that TT had requested production of source code and object code for operative and current
versions of the allegedly infringing products before entry of the 2006 Order (TT’s Opp’n Br. at 17-
18). Furthermore, TT claims that it has already produced source code under the 2006 Order, and that
defendants’ addition of a five-page procedure on how to deal with source code is “unnecessarily
burdensome and would just serve to multiply costs for all parties” (Id. at 18). Finally, TT contends
that defendants’ source code is already adequately protected by the 2006 Order (Id.). TT notes that
parties in related cases have already produced source code under the 2006 Order without problems
(]ci. at 19).

ln a recent case in this district, the court denied a party’s request to enhance confidentiality
restrictions for source code material In Bergsfrom, Inc. v. Glncz`er Bay, Inc. , No. 08 C 50078, 2010
WL 257253 (N.D. Ill. Jan. 22, 2010), the court found that the enhanced procedures requested,
including requiring the party to view the material on a computer in a specific location, was extremely
time consuming and “overly burdensome,” and that the movant had not made a sufficient showing
that the circumstances regarding the source code _ including its highly sensitive nature - justified
such a restrictive viewing. Id. at *2. Although in Bergsrrom, the court barred an attorney from
viewing the source code who was involved in the litigation and in prosecuting related patents, ici.,
in the instant case, as has been established above, l\/lr. Borsand is not involved in prosecuting related
patents, and the risk of inadvertent disclosure by Mr. Borsand is low.

Defendants have failed to show that the kind of labyrinthian procedures they propose for
handling source code are needed here. Accordingly, we deny defendants’ motion to amend the

source code provisions in the 2006 Order.

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CONCLUSION
For the foregoing reasons, we deny defendants’ motion to modify the protective order (doc.

# 284).

ENTER:

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sIDNEY“I. sCHENKIER
United States M:fgistrate Judge

])ated: January 18, 2011

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